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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,
                                                               SCHEDULING NOTICE
                 -against -

FERNANDO RAFAEL RUIZ,                                          20 Cr. 185 (ER)

                                    Defendant.
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        The pretrial conference currently scheduled for October 23, 2020, at 10:30 a.m. will occur

remotely and by telephone. The parties are directed to call the Court at (877) 411-9748 and enter

access code 302 9857#.


Dated: New York, New York
       October 16, 2020

                                                          s/ Jazmin Rivera
                                                         Jazmin Rivera, Courtroom Deputy
